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                                        BARRIOS v. COMMISSIONER OF LABOR
                                               Cite as 25 Neb. App. 835



                     Walter A. Barrios, appellee, v. Commissioner of Labor
                      of the Nebraska Department of Labor, appellant,
                         and Custom R ental Services, I nc., appellee.
                                                     ___ N.W.2d ___

                                          Filed April 24, 2018.    No. A-17-635.

                1.	 Administrative Law: Judgments: Appeal and Error. A judgment or
                    final order rendered by a district court in a judicial review pursuant to
                    the Administrative Procedure Act may be reversed, vacated, or modified
                    by an appellate court for errors appearing on the record.
                2.	 ____: ____: ____. When reviewing an order of a district court under
                    the Administrative Procedure Act for errors appearing on the record, the
                    inquiry is whether the decision conforms to the law, is supported by com-
                    petent evidence, and is neither arbitrary, capricious, nor unreasonable.
                3.	 Judgments: Appeal and Error. Whether a decision conforms to law
                    is by definition a question of law, in connection with which an appel-
                    late court reaches a conclusion independent of that reached by the
                    lower court.
                4.	 Jurisdiction: Appeal and Error. Before reaching the legal issues
                    presented for review, it is the duty of an appellate court to determine
                    whether it has jurisdiction over the matter before it.
                5.	 Jurisdiction: Final Orders: Appeal and Error. For an appellate
                    court to acquire jurisdiction of an appeal, there must be a final order
                    entered by the court from which the appeal is taken; conversely, an
                    appellate court is without jurisdiction to entertain appeals from non­
                    final orders.
                6.	 Final Orders: Appeal and Error. If an order is interlocutory, imme-
                    diate appeal from the order is disallowed so that courts may avoid
                    piecemeal review, chaos in trial procedure, and a succession of appeals
                    granted in the same case to secure advisory opinions to govern further
                    actions of the trial court.
                7.	 Administrative Law: Appeal and Error. Under the Administrative
                    Procedure Act, the district court sits as an intermediate appellate court.
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                   BARRIOS v. COMMISSIONER OF LABOR
                          Cite as 25 Neb. App. 835
 8.	 Courts: Final Orders: Appeal and Error. When a district court, sitting
     as an intermediate appellate court, enters an order that affects a substan-
     tial right, that order is final for purposes of appeal if its judgment can be
     executed without any further action by the district court.
 9.	 ____: ____: ____. Where the district court, sitting as an intermediate
     appellate court, reverses a judgment in favor of a party, and remands
     the matter for further proceedings, that party’s substantial right has
     been affected.
10.	 Estoppel: Words and Phrases. Equitable estoppel is a bar which pre-
     cludes a party from denying or asserting anything to the contrary of
     those matters established as the truth by his or her own deeds, acts, or
     representations.
11.	 Equity: Estoppel. The doctrine of equitable estoppel applies where,
     as a result of conduct of a party upon which another person has in
     good faith relied to his or her detriment, the acting party is absolutely
     precluded, both at law and in equity, from asserting rights which might
     have otherwise existed.
12.	 Estoppel. The elements of equitable estoppel are, as to the party
     estopped: (1) conduct which amounts to a false representation or con-
     cealment of material facts, or at least which is calculated to convey
     the impression that the facts are otherwise than, and inconsistent with,
     those which the party subsequently attempts to assert; (2) the intention,
     or at least the expectation, that such conduct shall be acted upon by, or
     influence, the other party or other persons; and (3) knowledge, actual or
     constructive, of the real facts.
13.	 ____. The elements of equitable estoppel are, as to the party claiming
     estoppel: (1) lack of knowledge and of the means of knowledge of the
     truth as to the facts in question; (2) reliance, in good faith, upon the
     conduct or statements of the party to be estopped; and (3) action or
     inaction based thereon of such a character as to change the position or
     status of the party claiming the estoppel, to his or her injury, detriment,
     or prejudice.
14.	 Administrative Law: Courts: Appeal and Error. Under the
     Administrative Procedure Act, the district court has the discretion to
     remand a matter for resolution of issues that were not raised before
     the agency if the court determines that the interest of justice would
     be served by the resolution of any other issue not raised before
     the agency.
15.	 Rules of the Supreme Court: Administrative Law: Corporations:
     Attorneys at Law. Under the Nebraska Supreme Court rules, a corpo-
     rate officer who is not a lawyer is not prohibited from representing the
     corporation at an agency hearing under certain conditions.
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              BARRIOS v. COMMISSIONER OF LABOR
                     Cite as 25 Neb. App. 835
   Appeal from the District Court for Hall County: M ark
J. Young, Judge. Affirmed in part as modified, and in part
reversed.

   Katie S. Thurber, Thomas A. Ukinski, and Dale M. Shotkoski
for appellant.

  Thomas A. Wagoner for appellee Walter A. Barrios.

  R iedmann and Bishop, Judges, and Inbody, Judge, Retired.

  R iedmann, Judge.
                      INTRODUCTION
   The Commissioner of Labor of the Nebraska Department of
Labor (the Department) appeals the order of the district court
for Hall County which remanded the matter to the Nebraska
Appeal Tribunal for consideration of issues not previously
raised. As explained below, we affirm in part as modified and
in part reverse.

                       BACKGROUND
   Walter A. Barrios was employed with Rogue Manufacturing
Company (Rogue Manufacturing) for several years before he
was laid off on October 8, 2015. He began working for Custom
Rental Services, Inc. (Custom Rental), on October 12, but
resigned on October 13. Barrios then applied for unemploy-
ment benefits through the Department.
   Barrios’ application was initially granted, and he received
benefits. After the Department completed its investigation,
however, an adjudicator for the Department concluded in a
notice of determination dated May 27, 2016, that because
Barrios had voluntarily left his employment with Custom
Rental without good cause, he was disqualified from receiving
benefits under Neb. Rev. Stat. § 48-628 (Reissue 2010) for the
week his employment ended and the 13 weeks immediately
following. This disqualification resulted in an overpayment to
Barrios of $3,552, which he was liable to repay.
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               BARRIOS v. COMMISSIONER OF LABOR
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   Barrios appealed the decision to the appeal tribunal. The
appeal tribunal held a hearing, at which the sole issue was
whether Barrios voluntarily left his employment with Custom
Rental without good cause under § 48-628. Barrios testified
that during his job interview with Custom Rental, he was told
that he would be delivering tables and chairs to different loca-
tions. However, the only work he was asked to perform on
October 12 and 13, 2015, was washing the outside of a build-
ing. He explained that he decided to quit because “the job I
got was not the one that I was told I would do.” After Barrios
left his employment with Custom Rental, he called the unem-
ployment office. He testified that after he reported he “only
had worked for [Custom Rental] for three days,” an employee
stated, “‘Oh, no problem. I congratulate you.’”
   The president of Custom Rental testified that during the
days that Barrios worked, there were no deliveries that needed
to be made. The president said that when that happens, the
employees typically work on maintaining equipment or work
on the facilities.
   In a written order, the appeal tribunal concluded that Barrios
failed to prove that he terminated his employment with Custom
Rental for good cause. Therefore, he was subject to the 13-week
disqualification period, and any benefits he received to which
he was not entitled must be repaid. The Department’s deter-
mination was therefore affirmed. Barrios moved for recon-
sideration of the appeal tribunal’s decision, but the request
was denied.
   Barrios appealed the decision of the appeal tribunal to the
district court for Hall County. In his amended petition, he
alleged that the appeal tribunal erred in ordering that the ben-
efits he received be repaid because he was eligible for benefits
as a result of his employment at Rogue Manufacturing. In addi-
tion, Barrios claimed that the Department should be estopped
from recouping the benefits paid to him because he detri-
mentally relied upon the representation of the Department’s
employee that he was eligible for unemployment benefits.
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               BARRIOS v. COMMISSIONER OF LABOR
                      Cite as 25 Neb. App. 835
   After holding a hearing and reviewing the evidence, the
district court reversed the decision and remanded the matter
to the appeal tribunal “in the interests of justice to resolve
issues not raised before the agency.” Specifically, the court
concluded that the matter should be remanded for consider-
ation of whether the Department is estopped from seeking
reimbursement of the benefits paid to Barrios when its employ-
ees initially awarded the benefits after knowing a voluntary
withdrawal had occurred. The district court further remanded
the matter for a determination of whether Barrios was enti-
tled to unemployment benefits as a result of his employment
with Rogue Manufacturing. Finally, the court found that plain
error had occurred when the president of Custom Rental was
allowed to participate in the hearing before the appeal tribunal
and cross-examine witnesses. The district court concluded that
unless the president was an attorney, he was prohibited from
representing the corporation at the hearing. The Department
timely appeals to this court.
                 ASSIGNMENTS OF ERROR
   The Department assigns, summarized, that the district court
erred in (1) remanding the matter for a determination of
whether the Department is equitably estopped from seeking
reimbursement of benefits paid to Barrios, (2) remanding the
matter for a determination of whether Barrios is entitled to
unemployment benefits from Rogue Manufacturing, and (3)
finding plain error in the representation of Custom Rental by
its president.
                   STANDARD OF REVIEW
   [1-3] A judgment or final order rendered by a district court
in a judicial review pursuant to the Administrative Procedure
Act (APA) may be reversed, vacated, or modified by an appel-
late court for errors appearing on the record. Underwood v.
Nebraska State Patrol, 287 Neb. 204, 842 N.W.2d 57 (2014).
When reviewing an order of a district court under the APA
for errors appearing on the record, the inquiry is whether
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the decision conforms to the law, is supported by competent
evidence, and is neither arbitrary, capricious, nor unreason-
able. Id. Whether a decision conforms to law is by definition
a question of law, in connection with which an appellate court
reaches a conclusion independent of that reached by the lower
court. Id.

                             ANALYSIS
Jurisdiction.
    [4-6] Before reaching the legal issues presented for review,
it is the duty of an appellate court to determine whether it has
jurisdiction over the matter before it. Boyd v. Cook, 298 Neb.
819, 906 N.W.2d 31 (2018). For an appellate court to acquire
jurisdiction of an appeal, there must be a final order entered
by the court from which the appeal is taken; conversely, an
appellate court is without jurisdiction to entertain appeals from
nonfinal orders. Pennfield Oil Co. v. Winstrom, 267 Neb. 288,
673 N.W.2d 558 (2004). If an order is interlocutory, immediate
appeal from the order is disallowed so that courts may avoid
piecemeal review, chaos in trial procedure, and a succession of
appeals granted in the same case to secure advisory opinions
to govern further actions of the trial court. Tilson v. Tilson, 299
Neb. 64, 907 N.W.2d 31 (2018).
    Barrios claims we do not have jurisdiction, because the dis-
trict court’s order is not final insomuch as it remanded the mat-
ter for further proceedings. Neb. Rev. Stat. § 84-917(5)(b)(ii)
(Reissue 2014) sets forth the procedure under the APA in
situations in which the district court remands the matter to the
agency for further proceedings. It states:
       The agency shall affirm, modify, or reverse its findings
       and decision in the case by reason of the additional pro-
       ceedings and shall file the decision following remand
       with the reviewing court. The agency shall serve a copy
       of the decision following remand upon all parties to the
       district court proceedings. The agency decision following
       remand shall become final unless a petition for further
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      review is filed with the reviewing court within thirty
      days after the decision following remand being filed with
      the district court. The party filing the petition for fur-
      ther review shall serve a copy of the petition for further
      review upon all parties to the district court proceeding
      in accordance with the rules of pleading in civil actions
      promulgated by the Supreme Court pursuant to section
      25-801.01 within thirty days after the petition for further
      review is filed. Within thirty days after service of the
      petition for further review or within such further time as
      the court for good cause shown may allow, the agency
      shall prepare and transmit to the court a certified copy
      of the official record of the additional proceedings had
      before the agency following remand.
§ 84-917(5)(b)(ii). The above procedure was added to the
APA in 2006 when the Legislature passed 2006 Neb. Laws,
L.B. 1115. As passed, L.B. 1115 incorporated 2006 Neb.
Laws, L.B. 1136, the purpose of which was to eliminate the
need for a new action being filed in the district court if a party
sought review of an agency decision following additional
proceedings on remand. See Judiciary Committee Hearing,
L.B. 1136, 99th Leg., 2d Sess. 18 (Feb. 2, 2006). See, also,
Concordia Teachers College v. Neb. Dept. of Labor, 252
Neb. 504, 563 N.W.2d 345 (1997) (dismissing appeal under
APA for lack of jurisdiction for failure to serve summons
within 30 days of filing petition for review following decision
on remand).
   [7-9] Under the APA, the district court sits as an inter-
mediate appellate court. § 84-917(2) and Neb. Rev. Stat.
§ 84-918(1) (Reissue 2014). The Nebraska Supreme Court
has held that when a district court, sitting as an intermediate
appellate court, enters an order that affects a substantial right,
that order is final for purposes of appeal if its judgment can be
executed without any further action by the district court. Rohde
v. Farmers Alliance Mut. Ins. Co., 244 Neb. 863, 509 N.W.2d
618 (1994). Where the district court reverses a judgment in
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favor of a party, and remands the matter for further proceed-
ings, that party’s substantial right has been affected. Id.
   In Rohde v. Farmers Alliance Mut. Ins. Co., supra, the
county court directed a verdict in favor of the defendant. The
plaintiffs appealed to the district court, which reversed the
judgment and remanded the case to the county court for trial on
the merits. Id. The defendant appealed to the Court of Appeals,
which dismissed for lack of jurisdiction. Id. On a petition for
further review, the Nebraska Supreme Court overruled prior
precedent to the extent that it held an order of a district court
reversing a final order of the trial court and remanding the case
for a trial on the merits is never a final order. See id. The court
explained that the determining factor was whether the district
court retained the cause for further action; if it did not, the dis-
trict court’s order remanding the case for further proceedings
was a final order. See id.
   In the present case, the district court reversed a decision
that had been entered in favor of the Department, thereby
affecting a substantial right of the Department. Pursuant to
§ 84-917(5)(b)(i), the district court remanded the matter for
further proceedings to address an issue that had not been raised
in the agency proceeding. Section 84-917(5)(b)(ii) requires the
agency to file its new decision with the district court, but unless
a party files a petition for further review with the district court,
the agency’s decision becomes final without any further action
of the district court. Prior to the amendment of § 84-917(5) in
2006, the Nebraska Supreme Court had held that remanding a
case to an agency for further proceedings did not empower the
district court to retain jurisdiction over the action. Concordia
Teachers College v. Neb. Dept. of Labor, supra.   The Nebraska Supreme Court has not squarely addressed
this issue since the enactment of § 84-917(5)(b)(ii), and an
argument can be made that the additional provisions pre-
clude a final judgment until such time as the new decision is
filed with the district court. However, we are mindful that in
Kerford Limestone Co. v. Nebraska Dept. of Rev., 287 Neb.
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653, 657, 844 N.W.2d 276, 280 (2014), a case in the same pro-
cedural posture as the case before us, the Nebraska Supreme
Court addressed the merits, recognizing that the appellant
“timely appeals.” Accordingly, we address the Department’s
assigned errors.

Equitable Estoppel.
   The Department first argues that the district court erred
in remanding the matter for a determination of whether the
Department is estopped from seeking repayment of the benefits
paid to Barrios to which he was not entitled. We conclude that
because the elements of equitable estoppel are not present in
the instant case, the district court erred in remanding the matter
on that basis.
   [10,11] Equitable estoppel is a bar which precludes a party
from denying or asserting anything to the contrary of those
matters established as the truth by his or her own deeds, acts,
or representations. Omaha Police Union Local 101 v. City of
Omaha, 292 Neb. 381, 872 N.W.2d 765 (2015). The doctrine
applies where, as a result of conduct of a party upon which
another person has in good faith relied to his or her detri-
ment, the acting party is absolutely precluded, both at law and
in equity, from asserting rights which might have otherwise
existed. Id.   [12,13] The elements of equitable estoppel are, as to the
party estopped: (1) conduct which amounts to a false repre-
sentation or concealment of material facts, or at least which
is calculated to convey the impression that the facts are
otherwise than, and inconsistent with, those which the party
subsequently attempts to assert; (2) the intention, or at least
the expectation, that such conduct shall be acted upon by, or
influence, the other party or other persons; and (3) knowl-
edge, actual or constructive, of the real facts. Id. As to the
other party, the elements are: (1) lack of knowledge and of the
means of knowledge of the truth as to the facts in question; (2)
reliance, in good faith, upon the conduct or statements of the
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party to be estopped; and (3) action or inaction based thereon
of such a character as to change the position or status of the
party claiming the estoppel, to his or her injury, detriment, or
prejudice. Id.
   In the present case, Barrios argues that the doctrine of det-
rimental reliance applies because the Department paid unem-
ployment benefits without a disqualification period when he
had reported to its representative that he “only had worked
for [Custom Rental] for three days.” But Barrios does not
explain how he relied upon such action. He had already ter-
minated his employment with Custom Rental when he called
the Department, so he is not claiming that the statement of
the Department’s representative induced him to quit his job.
Barrios alleges in his amended petition that he was advised by
the Department’s representative he would be eligible for ben-
efits and that based upon the representation, he applied for, and
received, benefits. But at the hearing before the tribunal, he
testified that the representative said, “‘Oh, no problem. I con-
gratulate you.’” We do not view that as a false representation
upon which a person would reasonably rely to mean unemploy-
ment benefits were available without a disqualification period.
Even Barrios’ statement in his motion to reconsider that he was
“advised that [he] qualified for Unemployment Benefits” can-
not be construed as a representation that he would not have a
disqualification period.
   Even assuming Barrios relied upon the representative’s
statement as an inducement to apply for benefits, he suffered
no harm in doing so. If he applied and the Department applied
the 13-week disqualification period, he would receive nothing
during those 13 weeks. If the Department did not apply the
disqualification period, he would receive immediate unem-
ployment benefits. He ultimately received immediate benefits
to which the Department later determined he was not entitled.
But because Barrios should never have received those benefits
in the first place, allowing the Department to recoup the erro-
neously paid funds will cause no detriment to Barrios. He will
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end up in the same position he would have been had benefits
been properly delayed at the outset. And if he was entitled to
benefits after the 13-week period (a question we are unable to
determine based upon the record before us), and he had never
applied for benefits, he would have ended up in a worse posi-
tion. Thus, the doctrine of equitable estoppel is not applicable
here. As a result, the district court erred in remanding the
matter for a determination of whether the Department should
be estopped from seeking repayment of the erroneously paid
funds from Barrios.

Benefits From Rogue
Manufacturing.
   The Department also claims that the district court erred in
remanding the matter for a determination of whether Barrios is
eligible for benefits from Rogue Manufacturing. Specifically,
it argues that the district court failed to properly construe Neb.
Rev. Stat. § 48-626 (Reissue 2010) and § 48-628, leading to the
erroneous conclusion that “an adjudication of the separation
of Barrios from Rogue [Manufacturing] was required before
a determination could be made whether he separated from
employment with Custom Rental with good cause.” Brief for
appellant at 29. We disagree with the Department’s interpreta-
tion of the district court’s order.
   [14] The sole issue addressed by the Department and the
appeal tribunal was whether Barrios terminated his employ-
ment with Custom Rental for good cause. In his amended
petition to the district court, Barrios alleged that the appeal
tribunal’s application of the disqualification period was errone-
ous in part because he was eligible for the benefits he received
due to his employment with Rogue Manufacturing. Although
this argument was raised for the first time on appeal to the
district court, under the APA, the district court has the discre-
tion to remand a case for resolution of issues that were not
raised before the agency. See § 84-917. If the court determines
that the interest of justice would be served by the resolution
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of any other issue not raised before the agency, the court
may remand the case to the agency for further proceedings.
§ 84-917(5)(b)(i).
   The district court’s order observes that the transcript and bill
of exceptions before it do not indicate whether the Department
assessed if Barrios was eligible for benefits from Rogue
Manufacturing. It is undisputed that the Department is seek-
ing reimbursement of benefits it claims were erroneously
paid to Barrios based on its determination that he was subject
to the 13-week disqualification period due to his voluntary
termination from Custom Rental. However, if his eligibil-
ity for benefits was based upon his employment with Rogue
Manufacturing, and his separation from that employer did
not warrant disqualification, then any benefit received by
Barrios should not have to be repaid. See Gilbert v. Hanlon,
214 Neb. 676, 335 N.W.2d 548 (1983) (benefits attributable
to separate employer are disqualified separately). Contrary to
the Department’s interpretation, the district court’s remand for
consideration of Rogue Manufacturing’s liability was not for
the purpose of determining whether Barrios separated from
employment with Custom Rental with good cause, but, rather,
for the purpose of determining whether Barrios was required
to repay the benefits he received.
   The underlying, unresolved issue is whether the Department
is entitled to a return of the benefits paid. We cannot find
that the district court abused its discretion in remanding the
matter for a determination of whether Barrios was entitled to
the benefits he received as a result of his employment with
Rogue Manufacturing.
   We note that although the court’s order indicates that it
was remanding the matter to the appeal tribunal for this deter-
mination, the matter must be remanded to the Department.
It is the Department’s duty to assess whether a claimant is
entitled to receive unemployment benefits for which he or she
has applied, and under § 84-917(5)(b), the court may remand
the case to the agency for further proceedings. Thus, we
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modify the district court’s order to remand the matter to the
Department, rather than the appeal tribunal.

Representation by Custom
Rental’s President.
   Finally, the Department asserts that the district court erred
in finding plain error in the appeal tribunal allowing the repre-
sentation of Custom Rental by its president. The district court
concluded that unless the president of Custom Rental was an
attorney, he may not represent the corporation during the pro-
ceedings before the appeal tribunal. We conclude that the court
erred in this determination.
   [15] Pursuant to the Nebraska Supreme Court rules:
         Whether or not they constitute the practice of law, the
      following are not prohibited:
         ....
         (C) Nonlawyers appearing in a representative capacity
      before an administrative tribunal or agency, subject to
      the following:
         ....
         (2) A nonlawyer who is an employee, member, or
      officer of an entity or organization may represent such
      entity or organization before an administrative tribunal
      or agency of the State of Nebraska, or a political sub-
      division of the State of Nebraska, if all of the following
      conditions are met:
         (a) The tribunal, agency, or political subdivision per-
      mits representation of parties by nonlawyers;
         (b) The nonlawyer employee, member, or officer is
      specifically authorized by the entity or organization to
      appear before the tribunal, agency, or political subdivision
      on its behalf;
         (c) Such representation is not the primary duty of the
      nonlawyer employee, member, or officer to the entity or
      organization, but is secondary to other duties relating to
      the management or operation of the entity or organization;
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         (d) The nonlawyer employee, member, or officer does
      not receive separate or additional compensation (other
      than reimbursement for costs) for such representation;
         (e) The representation does not involve a claim that the
      tribunal, agency, or political subdivision’s action or the
      action of another person is illegal as a matter of law or
      unconstitutional; and
         (f) The Nebraska Evidence Rules as applicable in
      the district courts do not apply to the administrative
      proceeding.
Neb. Ct. R. § 3-1004. Thus, under the Nebraska Supreme
Court rules, a corporate officer who is not a lawyer is not pro-
hibited from representing the corporation at an agency hearing
under certain conditions. The record before us lacks evidence
as to several of the conditions set forth in § 3-1004(C)(2),
however. Thus, this court and the district court are unable
to determine whether the representation of Custom Rental
by its president constituted the unauthorized practice of law.
Accordingly, the district court erred in finding that allowing
Custom Rental’s president to represent the corporation at the
agency hearing was plain error.
                        CONCLUSION
   We conclude that the district court erred in remanding the
matter for a determination of whether the doctrine of equitable
estoppel applies to the Department’s request for reimburse-
ment of unemployment benefits paid to Barrios. In addition,
the court’s finding of plain error with respect to allowing
Custom Rental’s president to represent the corporation before
the appeal tribunal was erroneous. The district court’s order
is therefore reversed as to those issues. We affirm the court’s
decision to remand the matter for a determination of whether
Barrios is eligible to receive unemployment benefits from
Rogue Manufacturing, but modify the order to remand the mat-
ter to the Department, rather than the appeal tribunal.
	A ffirmed in part as modified,
	                               and in part reversed.
